Peter A. Camiel
Law Offices of Camiel & Chaney P.S.
2815 Elliott Avenue, Suite 100
Seattle, WA 98121
(206) 636-1725
petercamiel@yahoo.com


               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,                   ) No. 3:18-CR-00072-TMB-DMS
                                            )
              Plaintiff,                    )
                                            ) JOINT STATUS REPORT TO COURT
       v.                                   )
                                            )
KIT LEE KARJALA,                            )
                                            )
            Defendant.                      )
                                            )


       This updated status report is submitted pursuant to the Court order issued

on January 30, 2021directing the parties to file a joint status report addressing: 1)

whether the parties anticipate the case proceeding to trial on April 26, 2021; 2)

the length of time needed for trial, expressed in court days; 3) what other

issues, if any, remain to be resolved before the start of trial, such as motions in

limine or discovery disputes; and 4) provide the Court with a Speedy Trial

calculation. emergency circumstances, Counsel have conferred and are in

agreement with the content of this report.


Status Report-1
(USA v. Kit Lee Karjala, 3:18-cr-00072-TMB-DMS)


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        In this case Ms. Karjala is charged with Failing to Appear at a bail hearing.

As part of a plea agreement entered in 3:17-cr-0063 this charge is to be dismissed

upon Ms. Karjala being sentenced. See ECF 375 (Section IV pages 9/10) Thus,

the parties do not anticipate this case proceeding to trial but expect the case to be

dismissed at Ms. Karjala’s sentencing in case 3:17-cr-0063. A trial in this case

would probably last no more than three days. There are no outstanding discovery

or evidentiary issues in this case that need to be considered by the Court.

       Ms. Karjala’s sentencing in case 3:17-cr-00063 has been continued several

times due to her ongoing medical issues that have required continued medical

appointments, scans, and an ongoing treatment regimen. At present no sentencing

date is set.

       Ms. Karjala was indicted in this case on June 21, 2018 and made her first

appearance on June 27, 2018. ECF 12 On June 28, 2018 an unopposed motion to

continue the trial was filed wherein counsel calculated that 69 days remained

under the speedy trial act. Counsel believes that 69 days continue to remain as a

result of various subsequent filings that have tolled the speedy trial time. On July

17, 2018 this case was declared complex and trial has been continued several

times in order to trail Ms. Karjala’s sentencing in 3:17-cr-00063. ECF 19 On July

22, 2018 an order to determine competency was entered further tolling the running

Status Report-2
(USA v. Kit Lee Karjala, 3:18-cr-00072-TMB-DMS)


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of speedy trial. ECF 22 On August 24, 2018 motions to suppress statements and

medical records were filed. ECF 29/31 On October 1, 2018 trial was continued

until January 7, 2019. ECF 48 On November 19, 2018 the trial date was vacated.

ECF 52 Several status conferences were held, and trial was reset to March 16,

2020. ECF 94 At a status conference held on March 10, 2020 trial was reset to

June 1, 2020. On May 8, 2020 trial was reset to July 27, 2020. ECF 100 On June

25, 2020 trial was reset to September 21, 2020. ECF 102 On September 16, 2020

the trial was reset to November 16, 2020. ECF 103 On December 18, 2020 the

trial was reset to the current trial date of February 22, 2021. ECF 105.

       The parties expect a new sentencing date to be set in case 3:17-cr-0063-

TMB once Ms. Karjala’s medical status is clarified.

       Presently, Ms. Karjala has another PET scan scheduled for April 2. Her

next oncology appointment is set for March 23. She will have another oncology

appointment on April 20 to discuss the results of her April 2 PET scan. In lay

terms, it is counsel’s understanding that Ms. Karjala’s current medical condition is

such that her cancer has not diminished. The question to be answered by the

upcoming PET scan is whether the cancer has continued to spread and whether the

current therapeutic treatments should be continued or changed. Finally, a decision

must be made as to whether to undergo surgery.

       Based on the foregoing, the parties suggest trial in this case be continued

until at least early May, 2021.

Status Report-3
(USA v. Kit Lee Karjala, 3:18-cr-00072-TMB-DMS)


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      Dated this 16th day of March 2021.

                                                       /s/Peter A. Camiel
                                                Peter A. Camiel WSBA 12596
                                                Attorney for Defendant Karjala




                           Certificate of Service


I hereby certify that on the 16th day of March 2021 I caused the foregoing to be
electronically filed with the Clerk of the Court of the United States District Court
for the District of Alaska using the CM/ECF system.


                           /s/Peter A. Camiel
                             Peter A. Camiel




Status Report-4
(USA v. Kit Lee Karjala, 3:18-cr-00072-TMB-DMS)


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